
PER CURIAM.
The appellant was convicted of murder in the first degree without recommendation of mercy in the Circuit Court in and for Hillsborough County, Florida. Subsequently, under authority of Furman v. Georgia, 408 U.S. 238, 92 S.Ct. 2726, 33 L.Ed.2d 346 (1972), the Supreme Court of Florida in Anderson v. State, 267 So.2d 8 (Fla.1972), reduced appellant’s sentence from death to life imprisonment. After argument, and upon careful consideration of the record and briefs in this case, we find no reversible error. Accordingly, the conviction, as previously modified by reduction of sentence, is affirmed.
It is so ordered.
ROBERTS, C. J., and ERVIN, CARLTON, ADKINS, BOYD, McCAIN and DEKLE, JJ., concur.
